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        SAP Business One                                                                     Whitepaper
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        SAP -- 30 Years in the Business of Helping Businesses Grow

        12 Million Users. 60,100 Installations, 1,600 Partners. 23 Industry Solutions,

        Founded in 1972, SAP is the recognized leader in providing collaborative business solutions for
        all types of industries and for every major market.
        Headquartered in Waildorf, Germany, SAP is the world's largest inter-enterprise software com-
        pany, and the world's third-largest independent software supplier overall. SAP employs over
        28,900 people in more than 50 countries. Our professionals are dedicated to providing high-
        level customer support and services,

        experience, Knowledge, and Technology for Maximizing Business
        SAP has leveraged our extensive experience to deliver mySAP Business Suite, the definitive
        family of business solutions for today's economy. mySAP Business Suite allows employees,
        customers, and business partners to work together successfully — anywhere, anytime, mySAP
        Business Suite is open and flexible, supporting databases, applications, operating systems, and
        hardware from almost every major vendor.




        Overview
r.
        1.1       Simple but Powerful: The Solution for Your Growing Business
        For small and midsize companies eager to emerge as new leaders in their industry, taking that
        next step in e-business evolution is a critical decision, Their new business management soft-
        ware must be quick to implement, easy to use, and make the best use of their current IT infra-
        structure. While it must be sufficiently powerful to manage their business through its future
        growth, it has to be affordable enough to represent a reasonable investment today.

        SAP Business One for sales-driven companies, is an easy to use product with a wide range of
        functionality, In addition to addressing the core operational needs of the small and midsize
        business, SAP Business One also provides companies the analytical tools to gain insight into an
        organization's operations, online alerts for collaborative event tracking and problem solving, and
        customizable reports that give companies the information they need in a user-friendly format


        1.2       A Strategic Decision for Subsidiaries of Big Enterprises
        There are many good reasons to decide on SAP Business One as the integrated business solu-
        tion for subsidiaries that represent sales or service centers of big enterprises. SAP is providing
        for full integration of the local business solutions into the enterprise's reporting and monitoring
        system using SAP BW,
        mySAP Enterprise Portal, and data exchange of master data between different installations of
        SAP software in a distributed system landscape.


        1.3       Fast Learning Curve
        The user-friendly interface can be mastered in no time at all, Using the innovative Drag 6. Relate
        capabilities, the users can drag information between databases and create links on the desktop.




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         The solution supports the Microsoft SQL Server database and the Microsoft Windows operating
         system. Its open architecture will integrate with the mySAP,c©m e•business platform, giving
         companies the adaptability to scale their applications with the growth of their business,


         1.4       Fast Implementation
         SAP Business One is easy to use. It features intuitive navigation, a familiar Microsoft Windows
         environment, and multiple customization tools. It is also easy to deploy and maintain, with fast
         implementation, high performance and scalability, robust security, and the ability to evolve into
         more sophisticated solutions.

         The software has been successfully installed in 800 businesses globally, with the maximum
         Implementation time being four weeks,




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   SAP Business One                                                                                                                                                  Whitepaper




   2                  Features and Functions of SAP Business One


   SAP Business One, the powerful solutions platform for small and medium-size businesses,
   gives you fast and easy access to alt corporate information, complete reports, and useful docu-
   ments for all business processes • and everything is in real-time, SAP Business One covers all
   divisions in the enterprise: ranging from sales, final assembly, accounting, purchasing and ad-
   ministration to bank transactions. Equipped with an easy to use interface, SAP Business One
   works as a central ERP (Enterprise Resource Planning) application with standard interfaces to
   internal and external data sources, handheld computers, CRM (Customer Relationship Man-
   agement) applications, and other leading reporting programs. As a result, you have a compre-
   hensive instrument for successful enterprise management.


   2.1                User-Friendly Interface
   The comfortable user interface has been developed precisely to meet customer wishes, is easy
   to use, and makes it possible for you to work quickly and efficiently.


   2.2                Intelligent Data Concept
   The innovative "Drag & Explore" technology gives the user easy access to all desired informa-
   tion by simply dragging field contents from one window to another. This is the basis of faster
   and mom effective business decisions.




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   SAP Business One                                                                     Whitepaper




   2,9      Standard Interfaces
   The system works as a central ERP application with standard interfaces to internal and external
   data sources such as handheld computers, CRM applications and other leading reporting pro-
   grams,


   2,10 Table Management
   The easy-to-use table management system makes it possible to easily and quickly add fields, or
   drop-down lists; consolidations or processes can be supplemented to any valid field,

   2,11      Internal CRM Functions

   The system provides suitable tools to recognize and manage business potential, This also in-
   cludes full access to information regarding gross profit and inventory levels.




   2.12 Multi -Language and Country Support
   SAP Business One provides multiple language support, That means, that the end-user is able to
   select the desired language, which can be changed any time.

   Independently from the language you can select the country for which the system is set up. This
   can be done either during the installation, or when a new company is created. This feature en-
   ables country specific features, like legal requirements or specific business requirements of this
   country,




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  SAP Business One                                                                        Whitepaper

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  3         Nine Modules for Complete Business Processes
  Financial Accounting
  SAP Business One provides a complete suite of functions you will need to run your business
  from the accounting point of view: General Ledger, open item management, budgets, legal and
  financial reporting.

  Sales and Distribution
  This application concentrates on sales processes from pricing and order entry to invoicing.

  Purchasing
  Purchasing is used to manage contacts and transactions with vendors from the purchase req-
  uisition to vendor invoices.

  Business Partners
  This application provides master data management for business partners with all relevant in-
  formation about customers, resellers, and vendors, as well as management of the prospective-
  customer database.

  Bank Transactions
  Bank transactions include the complete financial processing such as cash receipts, checks,
  advance payments, bank reconciliation, etc.

  Warehouse Management
  Here, you will find all information about inventory levels, price lists, special price agreements.
  and warehouse transactions.

  Final Assembly
  This module makes it possible to work with product bills of material and work orders,

  Controlling
  With this module, you can automatically create profit center reports according to division or de-
  partment.

  Reports
  This module makes it possible to create reports about enterprise data and information using any
  structure, This applies to internal analyses, inventory reports, financial reports, and accounting
  statements.




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    SAP Business One                                                                           Whitepaper
                                                                                                       or




    3.1       Financial Accounting in Detail
    Chart of accounts: SAP Business One offers a chart of accounts template for each country
    that you can tailor to your company's needs. You may also define a completely different chart of
    accounts,

    Journal entries: Use this form to enter or find your manual journal entries. (Most of the journal
    entries are entered automatically from the Sales, Purchasing, and the Banks modules), Each
    transaction can be automatically allocated to a project or a profit center.

    Temporary journal entries: Use this form to enter your manual journal entries into a temporary
    batch queue in which you can check and correct the entries before you enter them into your
    permanent ledger.

    Transaction templates: With this form you can create your set of transaction templates and
    use them to save time and prevent mistakes while entering manual journal entries,

    Recurrent journal transactions: With this form you can create your own journal transactions
    that are regularly executed in financial accounting. When you have set a frequency for every
    recurrent transaction, you will be automatically reminded to enter the transaction.

    Journal entry report This report summarizes all your journal entries.

    Exchange rate differences: Use this form to revaluate your open items in foreign currency
    periodically, This form will allocate the differences and offer the right transaction to correct it.

    Trial balance report: Use this report to view or print your account balances and transactions.
    You can view all your financial reports in any desired currency, and in each detailing level. Each
    financial report can be displayed in a quarterly or monthly view, by profit centers, projects etc.

    Profit and loss report This report will display your income and expenses according to legal
    requirements in your country. You can use this report, like any other financial report, to compare
    financial data between accounting periods.

    Balance sheet; This report will display your assets and liabilities according to legal require-
    ments in your country. Comparative reports; All the above-mentioned reports can be displayed
    in a comparative view (between months, quarters, years or any other period),

    Budget; Here you will be able to define arid track your budget, This sub menu will allow you to
    define your budget apportion methods, define your budget figures in any currency (local, foreign
    or both), and view a summarizing budget report which compares the actual versus the planned
    figures, The system will also send an on-line alert, whenever any budget item exceeds its
    monthly or yearly limit.

    Financial reports designer; This form allows easy and quick creation of an unlimited amount
    of financial report templates. Using this form will allow you to design a different template for
    each purpose (i.e, P&L report for managers, sorted and divided in one way and for internal us-
    ers in a different way)




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   SAP Business One                                                                        Whilepaper
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   3.2       Sales in Detail
   Quotation, This form will allow you to issue a price quote to your customers. From here you will
   be able to measure your gross profit For this quotation, your stock levels (general or by ware-
   house) and your customer current balance. The system also enables you to examine the last
   prices given to the specific customer for any item sold in this price quote at any time. After issu-
   ing the price quote it can be exported to Microsoft Word in a single click, like any other docu-
   ments.

   Order: This form will allow you to enter your customers' orders. This form will automatically
   reserve the items ordered and notify your storekeeper about the delivery date.

   Delivery note: Used white transferring the purchased stock to the customer, without issuing an
   invoice. At the same time, this form will automatically update your stock balances.

   Return; Use this form to record stock entries returned from your customers.

   Invoice: This is your major sales document. This form will automatically record the journal
   transaction, and it will allow you to issue an automatic receipt in case the customer pays any
   part of his bill instantly),

   Invoice and receipt: Use this form to record an Invoice and a receipt on the same document, in
   the same process.

   Credit note: Use this form to credit your customers in any case they return goods, for example.
   Like in any other sales or procurement fomi, you can easily import the desired data from the
   original invoice.

   Reserve invoice: Use this invoice whenever you want to issue an invoice without changing the
   stock balances.

   Document printing: From this form, you will be able to print all your sales or procurement
   documents. This form will allow you to select the range, type or characters of the desired docu-
   ments.

   Auto summary wizard: This easy to use wizard will allow you to summarize into one invoice all
   former Al documents related to all your customers, in one automatic process. This module can
   be very useful to users who issue orders or delivery notes during the month and one summa-
   rized invoice for each customer at the end of the month.

   Drafts: This form will allow printing, editing and managing documents that were saved as drafts.




   3.3       Purchasing in Detail
   Purchase order: This form will allow you to issue an order to your vendors for materials or ser-
   vices. Such an order will update the avaitabte amount for the items ordered, as well as notify the
   warehouse manager of the expected delivery date.

   Purchase delivery note: This Form is used whenever goods are being entered to the ware-
   house and the actual in-stock amount must be updated. However, it does not affect the vendor's
   account balance.




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    Purchase return: Use this form to record goods returned to your vendor.

    Purchase invoice: This form is used to keep record of your vendors' Invoices. It simultane-
    ously records a journal entry. This form will conveniently enable you to process your payments
    to vendors later.

    Purchase credit note: Use this form to credit your vendor upon return of goods, Like in any
    other AP/AR form, you can easily import the desired data from the original invoice.

    Import file: This module is a tool for calculating the landed value of imported goods. It helps
    allocate different types of costs and expenses (shipping, insurance, custom etc.) to each item's
    FOB cost, thus, updating its true in-stock value,

    Journal entries: This module allows you to view all your journal entries in summary, or sort
    them according to different types of cross sections.

    Document printing: From this form, you'll be able to print all your sales or procurement docu-
    ments. This form will allow you to select the range, type or characteristics of the desired docu-
    ments.




    3.4       Business Partner Master Data Maintenance in Detail
    Master data management: From this form, you can learn everything there is to know about
    your customers and vendors. Here you can enter valuable data like addresses, preferences,
    salesperson, credit terms, groups etc. You can create an unlimited amount of contact persons
    for each card, saving their telephone numbers, email address, and any other important data,
    From this form, you can record a contact with your customers or vendors, send them e•mails or
    SMS and view all important data like your customers sales report, detailed balance and much
    more. Like in any other system form, you can search an entry using each one of the form fields,
    utilizing all kind of search methods like "starts with", "includes", "greater than" etc.

    Definitions: This menu allows you to set the names for customer and vendor association
    groups and to set the names for the master data characteristics. Those groups are easily used
    to cross-section (combine selections of) related customer or vendor reports.

    Contacts with customers and vendors: Use this form to record a telephone call, a Meeting or
    any kind of activity with your customer or vendor, You can attach system documents or any
    other documents to each contact. This contact will become an integrated part of your customer
    or vendor data,

    Opening balances: Use this form to enter your customers and vendors opening balances, This
    form is useful for new users, who are migrating from another accounting application.

    Contacts summary: This report will allow you to view all your (or your employees) open con-
    tacts, sorted by date, related for the current day or week. From this form, you'll be able to deal
    with tasks and contacts and close contacts or tasks that have been completed.

    Sales opportunity: Use this form to record any sales opportunity from the first call to successful
    closure. This form allows defining the nature of the opportunity, source, value, predicated clo-




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    SAP Business One                                                                       Whitepaper




    sure date, partners, competitors, tasks, and more, After issuing the first relevant quote, it can be
    linked to the opportunity for better tracking and analyzing.

    Sales pipeline analysis: This report allows you to analyze your sales pipeline in three main
    dimensions: by customer, itern, and agent. You'll be able to create any cross-section between
    these dimensions in order to get a better view (like items offered by agent with closure percent.
    age). This report will automatically create charts to display the data graphically. You can display
    this report in any detailed level, and drill down from the most general level (e.g. opportunities by
    customer groups) to the most detailed level to specific opportunity of a specific customer).

    Sales pipeline graph: This report will display a dynamic sales funnel that displays all sales
    stages, from lead to order. By clicking on each slice you will be able to view a detailed report of
    each stage. In addition, you have other graphically supported options for displaying the sales
    process. The system will display your top 10.30 opportunities, from the creation date, to closure,
    This report will help you to analyze trends and buying habits easily




    3.5       Bank Transactions in Detail
    Receipt; Use this form to record any payment given to you by a Customer such as checks,
    credit card payments, cash, or bank transfers. From this form, you can allocate payments to
    open invoices simplifying your money collection process. issuing a receipt (or alternatively a
    payment or deposit) will update the general ledger.

    Payment to vendor: Use this form to Issue payments to your vendors. From this form, you can
    allocate payments to open purchase invoices. This form can be used for automatic check print-
    ing for vendors.

    Deposit: From this form, you can easily deposit cash, credit card payments or checks in the
    bank. You'll receive a full list of your checks from which you will be able to select the checks to
    be deposited. Credit card payments can be deposited automatically, according to your agree-
    ments with the credit card companies.

    Deferred checks; This form will automatically display the deferred checks that should be de-
    posited today. From this form, you'll be able to perform the deposit.

    Checks for payment This form was specially designed to write checks for your vendors, em-
    ployees or other creditors. From here, you will be able to write and print a check, and update the
    vendor balance accordingly.

    Checks Fund; This form is used to manage all check data. This form allows you to endorse a
    check or cancel it,

    Credit Fund: This form is used to manage all credit card data. This form allows you to endorse
    a credit voucher or cancel it.

    Deferred Credit Vouchers; This form will automatically display the deferred credit vouchers
    that should be deposited today, From this form, you'll be able to perform a deposit,

    Bank pages and reconciliation: The system is equipped with a powerful bank reconciliation
    module that contains:




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        •   External page reception: In this form, you can type the bank account data or import
            the bank transactions directly from a file. This data will be used for bank comparison.

        •   Reconciliation: The system allows fully automatic bank reconciliation. You can com-
            pare debit vs. credit transactions or your data vs. the banks'.

   Reconciliation wizard: Our wizard can save hours or even months of work for any bookkeeper:
   after defining reconciliation parameters, the system will recommend the right match among all
   options, using a unique algorithm. In this way, bookkeepers can save hours of frustrating
   searches for matches,


    3.6 Warehouse Management in Detail
    item Management: This form will allow you to manage all your data about items within one
    form. Here you can enter valuable data like item name and code, barcode, item trademark, di-
    mensions, prices and even the item's picture. Without leaving this screen, you will be able to
    view the item's balance, ordered amount and sales analysis.

    Definitions: This menu allows you to set the names for the item association groups and to set
    the names for the item characteristics. Those groups are easily used to cross-section related
    item reports, From here, you can also define your warehouses, your trademarks, your meas-
    ures, shipment types etc, This definitions sub-menu also allows you to define your cus-
    tomerIvendor unique catalogue numbers for each item. This way you'll be able to manage a
    unique catalogue numbers for each customer or vendor, actually using the same Items.

    Item Query: This form will give you a quick view of your item details.

    Price lists: This comprehensive module allows you to define as many price lists as you need
    and attach them to each of your customers or vendors. You can easily create dynamically for-
    mulated links between one price list area another and update price lists automatically whenever
    your actual purchase price Is changed.

    Special conditions: Here you can record special conditions for unique customers or from
    unique vendors. You can also set quantity-sensitive prices, which will be changed according to
    quantities purchased. Each price list can be time limited, and change automatically, whenever
    data is changed.
    In addition cash discounts can be used based on different payment terms.

    Stock accounting: If required, all products in the warehouse can be valuated using the average
    price.

    General receipt/release from stock: These two forms allow you to record a stock entry or
    release, which was not connected directly to an sales or procurement document.

    Transfer between warehouses: If you use more than one warehouse you will be happy to
    know that you can record, in this simple form, all transfers between your warehouses.

    Stock transactions: This menu item contains two major tasks:

            Writing opening balances for your stock items

            Updating your stocktaking data to the system

    Batches: Batches can be assigned to products and can be classified using expiration dates or
    free defined characteristics. For these products batches have to be specified in sales orders,
    deliveries or stock movements. Batches can be tracked using a special batch report.




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   SAP Business One                                                                        Whitepaper
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   Serial numbers: They can be assigned to products have to be specified in sales orders, deliv-
   eries or stock movements.




   3.7       Final Assembly in Detail
   Product tree (EOM) definition; This window enables you to define a multilevel bill-of-materials,
   by defining the main product and indicating all raw materials that are used in its production
   process, with their quantities and respective warehouses,

   Work order: Here you can record orders for production and then easily turn them into work
   orders, up to the final stage of finished goods. By using this work order, you will be able to in-
   stantly run a quantity check for sufficient existing stock levels.

   Open work order: This report will summarize all the work in process at present and display all
   associated work orders, at a click of the mouse,

   Product check: This report enables you, at any stage of the work process, to check the avail-
   ability of all products or materials needed to complete production.

   Product tree report: This report gives a view of all bills of material (production trees) in any
   desired level.




   3.8       Controlling In Detail
   Profit centers: This window enables you to define the various profit centers f departments of
   your business, In the chart of accounts, you will be able to directly associate suitable income or
   cost amounts to a predefined profit center.

   Overhead absorption factors; Based on your calculations and business experience, you can
   define here the different allocation factors, which characterize your business activity, such as
   the area of the business, employee division, or income ratio. In the chart of accounts, you will
   easily be able to associate a suitable income or cost account, with the proper allocation factor,

   Profit centers and overhead factors table: This report displays all profit centers and the ab-
   sorption factors, in a table form, making it easy to view and adjust the figures. It also enables
   you to create more new profit centers and factors. As soon as you define all the costing factors,
   the system will allocate costs automatically between cost centers in each transaction, allowing
   you to gel detailed costing information with no effort at all!

   Profit tenter reports: This report displays a managerial profit and loss report, for each profit
   center, based on all its revenues and expenses, direct and indirect, according to the predefined
   absorption factors. You can choose a display in a yearly, or a monthly format, and compare it
   with last year's figures.




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   3.9        Reports in Detail
   The Reports module is the systems most important module. Here, you can find all kinds of re-
   ports: managerial reports, bookkeeping reports, stock reports, financial reports and decision
   support reports. Each report can be exported to Microsoft Excel at a single click. The system's
   data navigation system allows you to browse your data freely, Using the reports system will
   save you precious time and make it possible for you to access new data and information.

   To do list: This set of reports allows managers in your organization to quickly receive updates
   of all their business irregularities such as; unpaid invoices, open price quotes or orders, etc.
   Hotlink to Microsoft Word allows you to create a set of letters to each relevant customer.

   Customerivendor debt aging: These two reports allow you to view all your customerivendor
   debts, sorted and divided by age, By clicking on a customer line you can view a detailed report
   for the customer. Hotlink to Microsoft Word allows you to create, at a single click, a set of ac-
   count statuses of customer debts,

    Sales analysis: This report allows you to analyze your sates in three main dimensions: sales by
    customer, sales per item and sales per agent, You'll be able to create any cross-section be-
    tween these dimensions in order to get a better view (such as items sold by agent or items
    bought by customers etc), This report will automatically create charts to display the data graphi-
    cally, You can display this report in any detailed level and drill down from the most summarized
    level (e.g, sales by customer groups) to the most detailed report (a specific invoice of a specific
    customer),

    Cash flow: This report analyses your cash flow using all incomes and expenses such as
    checks, credit cards, recurrent transactions, customer debts etc. This report can be displayed in
    various levels of detail,

   Queries: This powerful engine allows you to make any queries to your database In a simple
   query language and create any report from it. You can use any data from any field in order to
   create or condense a report. After building a query, it can be saved in your queries library for
   future usage. Saved queries can be designed and modified using the report editor,

   Contacts summary: This report will allow you to view all your (or your employees) open con-
   tacts, sorted by date and linked to the current day or week. From this form, you'll be able to deal
   with your leeks and contacts and close the contacts or tasks that have been completed.

    Bookkeeping reports: This menu line contains all important bookkeeping reports such as:

        •   Accounts and master data index

            General ledger report: summarizes all ledger entries by card or account.

        •   VAT report summarizes all your VAT obligations according to local legal requirements

        •   EC Sates list: summarizes sales to EC customers according to local legal requirements

        •   Tax deduction reports

            Document journal

        •   Documents serial numbers review: allows you to check the sequencing of the docu-
            ment numbers



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   Financial statements: This menu tine contains all important financial reports:

       • Balance sheet

       •    Trial balance

       •    Profit & loss report

       •    Profit centers report

   Stock reports: This menu line contains all important stock reports such as:

       •    Items index

       •    Card file generator: summarizes all stock entries by card or by item.

       •    Stock status: displays all stock balances like item in stook, ordered quantity and avail-
            able item balance. By clicking on an item line, you can view an orders' report for the
            Item,

        •   Warehouses balance report: This report will display your items' balance per ware-
            house, and the total balance for each item.

        •   Stock valuation: This report will value your stock in one of the conventional methods:
            FIFO, LIFO or Moving Average, You can view a summary for all your items or a detailed
            report for each item, A special algorithm is being used to deal with a negative item bal-
            ance situation.

        •   Product trees report: This report gives a view of all the hills of materials (production
            trees) in any desired level and different levels of detail.

    Additional Reports: This menu line contains alt other reports likc

        •   Last prices report: which displays a list of last prices given to a specific customer.

            Inactive Customers: which displays a list of inactive customers in a certain time frame,

    Deactivated Items: which displays a list of non-active items in a certain time frame. This report
    can help you reduce stock maintenance costs,




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   5        Adopting SAP Business One

   5,1      Configuration
   The administration module of SAP Business One contains the basic settings of the system such
   as exchange rates, system setup, permissions concept, internal mail organization, basic e-mail
   and SMS settings, data import and export functions, etc.


   Select company; In the system, you can set up en unlimited number of companies and then
   use this function to select them, allocate the server while working in a network environment, and
   to switch between users.

   System setup: With this function, you can set up all company data and preferences. During the
   process, the system guides you through the programs using a step-by-step iist.

   Definitions: Here you can determine all your definitions regarding users, currencies, payment
   terms, sales persons, banks, commission groups etc.

   Permissions: This comprehensive module keeps your business information safe from unau-
   thorized access. You define the permissions profiles for the various users in order to protect
   your corporate data from unauthorized access.

   Rates table: in this table you can enter your foreign currency rates and indexes, or auto
   download rates from the web. These rates are then used for all reports and data entry.

   Utilities: From here you will be able to back up your, transfer data from year to year, check and
   fix your data and automatically run previously defined processes (internal macro language).

   Import/export: The system allows you to easily import and export data to and from Microsoft
   Excel, and other clients or Journal entries from different accounting software. You can also ex-
   port any screen matrix to Microsoft Excel in a single click

   Restore: Here we have concentrated all our maintenance tools, which allow you to maintain
   your data if the need arises.

   Alarm-Management: This screen allows you to define your personal alert profile for the online
   alarm function. You can define what kind of alerts you want to receive, design personal alerts,
   and define parameters for each alert. Each alert can be sent by fax, SMS, e-mail or internal
   mail.

   Mail, fax and SMS center: The system can become your exchange server, because it allows
   sending any of system documents or reports by mail, fax and SMS. Messages can be sent to
   internal users, and customers or vendors, either by individual send or to distribution lists.




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   5.2        User defined fields
   In SAP Business One you can define any user fields you wish for all objects, (such as for exam-
   ple, items, business partners or orders). This enables you to manage information that is typical
   for your business activity. In the user-defined fields you can enter different information such as
   text, addresses, telephone numbers, Internet addresses, attachments, pictures, selection lists
   etc.




   5.3        Formatted search
   The Formatted search enables Business One users to enter values, originated by a pre-defined
   search process, to any field in the system (including user defined fields).
   The following are examples of using formatted search:
         o   Automatic entering of values into fields using various objects in the system.
         O Entering values into fields using a pre-defined list.
         O Automatic entering of values into fields via predefined queries (defined by the user~.
         o   Creating dependence between fields in the system i.e. the value in X field influence the
             value in Y field.
         •   Displaying fields that can only be displayed using queries i.e. User signature, Creation
             date, Open checks balance (for cards) etc.




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   6          Enhancing the core functionality


   6.1        API
   SAP Business One provides a programming interface (API) on COM technology, that allows you
   to enhance the functionality, or adopt It to your requirements. The provided COM objects can be
   used by programming languages like Visual Basic, C / C++, JAVA.
   There are two different API's, one for data interfaces and the other one to modify the user inter-
   tam



   6.1.1 Data interface (OBS)
   This API provides objects and methods to read or write the most important data objects used in
   SAP Business One. Both master data as bell as transactional data can be accessed. In addition
   also a couple of general objects are provided♦

         •   DBConnection
             The DBConnection object is used to establish a connection to a SQL Server. You can
             use this object to access SAP Business One data or connect to a custom database cre-
             ated by you,
         o   Company
             The Company object represents a company database. Before you can create any busi-
             ness object you must create an OADM object and establish a company database con-
             nection.
         •   RecordSet
             Recordset object is used to run and contain SQL data, Use it's method DoQuery to run
             sql queries or stored procedures.
         O SBOBob
           The SBObob object is an accessory that enables you to get valuable information quickly
           and easily. The returned data is usually a SAPbobsCOM Reccirdset for convenience of
           data manipulation.
         ❑ Messages
           A message object is used to send a message including attachments and links to a SAP
           Business One user.
         a UserFields
            The UserFields object contains the collection of user defined data fields
         a Field
            The Field object is the used for field data manipulation, is contains both standard and
            custom data access properties

         •   Items
             The Items object represents a product master data record.
         O BusinessPartners
           The BusinessPartners object represents a customer or vendor master data record




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      Q      ProductTrees
             The Productirees object represents the head of a bill of material
      ct     Producarees_Lines
             The ProductTrees_Lines object represents the products linked to a bill of material

      LA Documents
         The Documents object represents the header of sales anti procurement document like
         orders, deliveries, invoices, ...
      •      Documents Lines
             The Documents_Lines object represents the items linked to sales and procurement
             document
      •      JournatEntries
             The JoumalEntries object represents financial journal postings.




   6.1.2      User interface
   This API provides objects and methods to access objects of the user interface like forms, win-
   dows controls (entry fields, check boxes, ...) or windows messages.

       Ct    Application
             The Application object establishs the connection to the SAP Business One application,
             You can use this object to perform actions on the windows.
       U     Form
             The Form object represents an application form, It is necessary to noes an item, which
             belongs to this form,
       •     Item
             A !tern object represents a windows control. The content as well as the position, size or
             visibility can be modified.
       ~~ CheckBox
          The CheckBox object represents a checkbox control. Using the method IsChecked you
          can retrieve the information, if this checkbox is checked.
       o     Matrix
             A Matrix object represents a table in a form,
       •     tternEvent
             The ItemEvent object is the event handler, where you have alt the possibilities to de-
             velop any activity triggered by a windows event like el_FORM_LOAD or
             et I5 PRESSED.
       •     Menu item
             Use the Menultem instance to activate the specified menu item
       •     MenuEvent
             Use the MenuEvent to interfere with the specific process for this event




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   7         Optional components


   Beside to SAP Business One product itself SAP offers several optional packages like Internet
   Sales, which can be used together with SAP Business One.



   7A         Migration packages

   7.1.1 Legacy data migration
    During the implementation project it is necessary to load data like products, sales orders, In-
    voices, journal entries for the legacy system. SAP offers a easy to use interface to load these
    data from flat files to SAP Business One.

    7.1.2 Migration to mySAP.com
    While customers use SAP Business One they will be able to grow and as a result, their re-
    quirements will be greater. In order to cover these requirements, in the future, migration from
    SAP Business One to SAP P/3 will be possible.




    7.2       Internet Sales
    For SAP Business One a complete sell-side solution based on the web standard J2EE will be
    provided. This contains the scenarios Business-to-Business and Business-to-Consumer, The
    web-shop communicates directly with SAP Business One, using its product catalogs, pricing,
    customer data, Based on the shopping carts sales orders will be created in SAP Business One.




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   7.3      Interfacing HR applications
   SAP Business One will be able to interface HR solutions like mySAP HR or other local HR solu-
   tions like OATEV. HR master data maintenance as well as the payroll transactions have to be
   performed in the HR application. SAP provides an open interface (XML) for the financial post-
   ings, as well as the link to mySAP HR, which can be offered by partners as a hosted solution for
   the SAP Business One customers, Links to other HR applications can be provided by partners.



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   SAP Business One                                                                  WhiWeeper




   8        integration scenarios with mySAP.com


   To overcome today's situation in a multinational enterprise for a new IT decision in every sub-
   sidiary SAP provides an integration package between mySAP.com used In the headquarter and
   SAP Business One used in the subsidiaries. This enables seamless integration based on the
   SAP products mySAP Business Warehouse, SAP Enterprise Portals and mySAP technology,




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   Three different layers of integration are provided:



   8,1          Data consolidation using mySAP BW
   Today and in the future, a manager of a multinational enterprise needs an integrated information
   system that will enable him to efficiently and effectively utilize the data records stored across
   the operational systems for decision-making and controlling process,
   The answer to this business requirement is a preconfigured solution that will allow you to seam-
   lessly report on and monitor data coming from an SAP Business One installation.

   Therefore SAP provides the required configuration package as well as the corresponding map-
   ping and data access modules to consolidate data from subsidiaries running SAP Business
   One.




   8.2          Accessing information of SAP Business One using Enterprise
                Portals
   mySAP Enterprise Portal integrates SAP Business One with mySAP,com and external content
   sources and solutions. It provides a central access point to joint business tasks and distributes
   information to an extended business community - employees, partners, customers,


         Q     Central access to information regardless of the location of the source • Intranet or Inter-
               net
         •     Integration of cross-boundary business processes
         Q     Transparent and unified access to solutions that allow for inter- and intra-company col-
               laboration

         toi Stale-of-the-art interaction; Proactive delivery of content, easy to use point & Click, time
              saving drag & relate



   8.2.1 Functionality
   The Business Package for SAP Business One provides portal content that can be used to cre-
   ate an environment in which a user can access information from one or several installations of
   Business One.
   In a first version this portal content contains
         •     iViews that show information out of Business One and pages that contains iViews
         •     Pages that contain OW web reports
         •    Worksets that structure the delivered pages.
   This first version is intended to give a well-structured overview of information from different
   sources (accessing different installations of SAP Business One directly or indirectly via BW).




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        In a later, second version the portal should also support certain business processes that require
        access to different systems, such as intercompany stock transfer, This requires technical en-
        hancement: beside a portal connector for SAP Business One also an application unifier for
        Business One has to be developed. The enhanced, second version will contain:
            •   Portal Connector for SAP Business One
            •   Application Unifier for SAP Business One
            •   Enhanced iViews with active data elements
            •   Special iViews that act as Full Page Service and can be used to carry out a specific
                business transaction or report from SAP Business One,
            •   Navigation structure in the iPanel that provides point & dick and drag & relate capabili-
                ties.




        8.2.2     User roles
        All the day-to-day activities will be carried out by users in the subsidiaries and these users will
        always use the primary GUI of SAP Business One. In particular these users will usually not use
        mySAP Enterprise Portal to access Business One.
        However, if an Enterprise Portal within a global group is available, it can be used to provide
        system access for sales persons, This way sales persons from a subsidiary can use SAP
        Business One via remote access via an Internet Browser.
ti
        The target group of the Business Package for SAP Business One are users within a head-
        quarter of a group who need information about the business of its subsidiaries and that all or
        some of these subsidiaries use SAP Business One
        Additionally these users need
            •   an entry screen that shows certain key figures, KPIs or alerts
            •   to drill down from aggregated information to detailed information or to drag & relate oil:l-
                ied% from a report/alert to components in the iPanel to find more information or to carry
                out intercompany processes
            •   information especially from the areas financials and sales.




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   8.3      Collaboration scenarios using mySAP technology
   This scenario provides the integration possibilities a big enterprise needs to exchange data
   between the headquarter and the subsidiaries in both directions. This could include master data
   from a central master data server in the head office as well as financial data from a subsidiary
   which have to be consolidated in the head office in the central Fl .
   The enabling technology behind these scenarios is SAP'S Exchange infrastructure (Xi) or for
   small networks or customers already using this technology the Business Connector. The inter-
   face package will have plug-ins for both products.
   The most-wanted business scenarios will be preconfigured and delivered with the correspond-
   ing mappings and adapters and can be adapted easily by the customer, as well as enhanced
   with additional scenarios.




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                                                                                          or


   SAP Business One Hardware requirements:
   Client system requirements


  Operating    CPU        RAM      Free Disk               Network                 Software
   System                           Space

   Windows    Pentium    128 Mb     At !easel.   • UTP-RJ45 Connections,       • Internet Explorer
     NT4/      III 450     And    500MCB Free                                  5.5 And Above,
   2000IXP                                       • COAX Is Not Supported
                And       Above
               Above                             • Intel , 3Com Nic's,
                                                                               a WIN 2000 - Ser-
                                                 • Protocol :TCP/IP            vice Pack 2 And
                                                 • IPX/SPX       Is Not Sup-    Above
                                                 • . rted


   Server System Requierments ;


   Operat-     CPU        RAM      Free Disk                Network                 Software
   ing Sys-                         Space
     tem
      NT4     Pentium    512MB     At teasel     a UTP-RJ45 Connections,      nternet Explorer
    Server       W                 2GI3 Free                               And
                                                                            5.5 Above,
   /Window                                       • COAX Is Not Supported
              Mhz600
    s 2000                                       6   Intel ,3Com Nic's,
   Server/A    And                                                                Windows 2000
              Above                              • Protocol : TCP/1P             Server - SP 2
   dvanced
    Server                                       • 1PX/SPX       Is Not Sup-     And Above
              For each
                                                 ported

                                                                               • SQL 2000 SP2
                                                                                 And Above,


                                                                               • SQL 7.0 is not
                                                                                 supported
                                                             -




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